Case 2:03-cv-02970-.]PI\/|-STA Document 47 Filed 06/09/05 Page 1 of 3 Page|D 77

HMEJEY,.“‘”
UNITED STATES DISTRICT COURT

WESTERN DISTRICT 0F TENNESSB)EM 9 m ho
WESTERN DIVISION mgm m mm

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RICHARD BROOKS and

JUNETTE BROOKS JUDGMENT IN A CIVIL CASE
v.
WALMART STORES, INC., CASE NO. 03-2970 Ml/An

H:GHLAND GROUP, INc. d/b/a
HIGHLAND GROUP INDUsTRIEs,
and JoUBERT s. A. MALAYSIA.

 

The parties having settled and compromised all things in
controversy:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Order of
Dismissal With Prejudice filed June gi , 2005, this case is
hereby DISMISSED with prejudice. Costs are adjudged against the
defendants.

APPROVED:

w w Oz§

JON PHIPPS MCCALLA
; UN TED STATES DISTRICT COURT

     
 

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Date l Clerk of Court

QM§M

(BY /Depu§j Clerkd

 

 

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Honorable J on McCalla
US DISTRICT COURT

